      Case 19-22116                 Doc 68         Filed 12/31/20 Entered 12/31/20 23:14:29                  Desc Imaged
                                                  Certificate of Notice Page 1 of 7
Information to identify the case:
Debtor 1              Christopher A. Freeman                                      Social Security number or ITIN   xxx−xx−8802
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 19−22116



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Christopher A. Freeman

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           December 29, 2020                                                             United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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           Case 19-22116                Doc 68          Filed 12/31/20 Entered 12/31/20 23:14:29                                     Desc Imaged
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 19-22116-JBS
Christopher A. Freeman                                                                                                 Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                Page 1 of 5
Date Rcvd: Dec 29, 2020                                               Form ID: 318                                                            Total Noticed: 128
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 31, 2020:
Recip ID                   Recipient Name and Address
db                         Christopher A. Freeman, 537 Monroe Ave., Glencoe, IL 60022-2071
28083203               +   419 Superior Street, LLC, 537 Monroe Ave., Glencoe, IL 60022-2071
28083205               +   959 Western LLC, c/o Kyle Glascott, 2156 N. Halsted St., Chicago, IL 60614-4316
28083206               +   ADP, c/o Lyons Collection Services, Inc., 370 Seventh Ave.,, New York, NY 10001-3901
28083207               +   ASCAP, 2 Music Square West, Nashville, TN 37203-3295
28083208               +   Alyssa Stark, 605 Thomas Ave, Forest Park, IL 60130-1965
28083209               +   American Express National Bank, c/o Beathan Regan, Esq., 80 Minuteman Road, Andover, MA 01810-1008
28083210                   BMI, 10 Music Square East, Nashville, TN 37203-4399
28083211               +   Belvedere Capital, 400 E. Randolph St., Ste. 2507, Chicago, IL 60601-5038
28083212               +   Ben Cox, 1134 W. Montana, Chicago, IL 60614-2221
28083213               +   Ben Robison, 409 W. North Ave., #4W, Chicago, IL 60610-0752
28083214               +   Big Apple Finer Foods, Inc., c/o The Law Office of Christian Blume,, 415 N. LaSalle Dr., Suite 403, Chicago, IL 60654-2742
28083215               +   Big Apple Finer Foods. Inc., c/o The Law Office of Christian Blume, L, 415 N. LaSalle Dr., Suite 403, Chicago, IL 60654-2742
28083216                   Bipin Ravindran, 3932 Bridal Pass, Bay City, MI 48708
28083217               +   Brian Shah, 401 N. Wabash Ave., Unit 42E, Chicago, IL 60611-3760
28083218               +   Bronswick Benjamin P.C., c/o Jeff Bronswick, Accts. Payable, 8750 W. Bryn Mawr, Ste. 650, Chicago, IL 60631-3668
28083219               +   CIBC f/k/a The Private Bank, 120 S. LaSalle St., Chicago, IL 60603-3412
28083221               +   Chimney USA Inc., c/o Omar I. Younis, Esq., 7110 W. 127th St., Ste. 150, Palos Heights, IL 60463-1579
28231774               +   Chris Dexter, 801 N. Pitt St., Alexandria VA 22314-1780
28083222               +   Chris Dexter, 2740 W. North Ave. #204, Chicago, IL 60647-1244
28083224               +   City of Chicago, c/o Goldman & Grant, Ltd., 205 W. Randolph St.,, Ste. 1100, Chicago, IL 60606-1813
28083227               +   City of Chicago - Water, c/o Goldman & Grant, Ltd., 205 W. Randolph St., Suite 1100, Chicago, IL 60606-1813
28083228               +   City of Chicago -Dept. of Streets & Sanitatio, 121 N. LaSalle St., Room 1107, Chicago, IL 60602-1278
28083229                   City of Chicago Bus. Affairs & Consumer Prote, City Hall Room 800, Attn: Lawrence Smith, Chicago, IL 60602
28083230               +   City of Chicago Department of Finance, 121 N. LaSalle St., 7th Floor, Chicago, IL 60602-1252
28083231               +   City of Chicago-Department of Water, c/o Goldman & Grant, Ltd., 205 W. Randolph, Suite 1100, Chicago, IL 60606-1813
28083232               +   City of Chicago-Dept. of Bus. Affairs, IL Liquor Control Commission, 121 N. LaSalle St., Room 805, Chicago, IL 60602-1237
28083233                   City of Chicago-Dept. of Streets & San., 121 N. State St., Room 1107, Chicago, IL 60602
28083234                   Cohn Reznick, c/o Stephanie O'Roark, Accts. Payable, 3560 Lenox Rd. NE, suite 2800, Atlanta, GA 30326-4276
28083235                   Colette Freeman, 537 Monroe Ave., Glencoe, IL 60022-2071
28083236               +   Colliers International, c/o Chris Freeman, 537 Monroe, Glencoe, IL 60022-2071
28083237                   Comcast Corporation, c/o Windham Professionals, Inc., 382 Main St., Salem, NH 03079-2412
28083241               +   Courtney Bartlett, 3735 N. Wilton #3S, Chicago, IL 60613-5398
28083243               +   Craig Itagaki Investment Group, Attn: Craig Itagaki, 3642 Glenview Rd., Glenview, IL 60025-2537
28083244               +   Craig R. Houser, Esq., Markoff Law LLC, 29 North Wacker Drive, Suite 1010, Chicago, IL 60606-3203
28083245               +   DD Danforth, 1123 Forest Ave., River Forest, IL 60305-1355
28083246               +   DS Johnny's Member LLC, 1610 W. Jackson Blvd., Chicago, IL 60612-3208
28083247               +   Dan Hermann, 2121 N. Kenmore Ave., Chicago, IL 60614-4111
28083248               +   Dan Hoffman, 227 W. Monroe, Suite 3400, Chicago, IL 60606-5098
28083249               +   Dave Lehner, 3735 N. Wilton Ave., 4N, Chicago, IL 60613-5468
28083250                   Dr. Stephen Boaz, Advocate, 2401 Rivane Way, Suite 302, Golf, IL 60029
28083251                   Element Collective, Inc., 2740 W. North Ave., Glencoe, IL 60020-2071
           Case 19-22116           Doc 68          Filed 12/31/20 Entered 12/31/20 23:14:29                                       Desc Imaged
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Date Rcvd: Dec 29, 2020                                           Form ID: 318                                                         Total Noticed: 128
28083252         +   Element Management Group, Inc., 2740 W. North Ave., Unit 204, Chicago, IL 60647-1244
28083253         +   Eric Delbridge, 8 Miguel Street, San Francisco, CA 94131-2606
28083254         +   FNB Omaha, PO Box 3412, Omaha, NE 68103-0412
28083256         +   Hartford Financial, c/o Brown & Joseph, LLC, One Pierce Pl., Ste. 122SW, Itasca, IL 60143-1253
28083257         +   Helen Runjo, Muskego Lakes Country Club, S100 W14020 Loomis Rd, Muskego, WI 53150-5105
28083258         +   Horwood Marcus & Berk, c/o David Hughes, 500 W. Madison, Suite 3700, Chicago, IL 60661-4591
28083261         +   Icon Project Roc, LLC, 537 Monroe, Glencoe, IL 60022-2071
28083260         +   Icon Project Roc, LLC, 537 Monroe Ave., Glencoe, IL 60022-2071
28083263         +   Illinois Department of Labor, 160 N. LaSalle St., Ste. C1300, Chicago, IL 60601-3114
28083265         +   Illinois Department of Revenue, Bankruptcy Unit, PO Box 19035, Chicago, IL 60619-0035
28083268         +   Illinois Secretary of State, Business Services, 501 S. Second St., Room 350, Springfield, IL 62756-1000
28083269         +   J. Ryan Potts, 30 N. LaSalle St., Ste. 1402, Chicago, IL 60602-3353
28231772         +   JR Glen Law, Attn: Patrick D. McHale, 1514 W. Wellington Ave., Chicago IL 60657-4015
28215517         +   JR Glenn Law, 111 W Washington St, Suite 1025, Chicago, IL 60602-2745
28083272         +   JR Glenn Law, c/o The McHale Law Group, 55 E. Monroe, Suite 3800, Chicago, IL 60603-6030
28083273         +   Jack Rozran, c/o Kristine M. Kolky, 111 E. Wacker, suite 2800, Chicago, IL 60601-4277
28083275         +   Jared Van Camp, 2328 N. Spaulding, Chicago, IL 60647-2555
28083277             Jessica True, 1817 S, Racine Ave., Apt. 1, Chicago, IL 60608-3213
28083278         +   Jim Hogan, 10970 S. 84th Ave., Palos Hills, IL 60465-2264
28083279             Joel Smith, 442 W. Aldine Ave., Apt. 3W, Chicago, IL 60657-5899
28083280         +   John Duffy, 519 Roosevelt Dr., Libertyville, IL 60048-3119
28083281         +   John Kyriazis, 1801 Kensington, Westchester, IL 60154-4212
28083282         +   John Rausch, 3915 N. Highland Ave., Arlington Heights, IL 60004-1309
28083283        #+   John Warken, 3230 Oldwoods Dr., Naperville, IL 60565-9205
28083284         +   Johnny's Member LLC, 133 N. Jefferson St., 4th Floor, Chicago, IL 60661-2336
28083285         +   Josh Lopez, 4201 S. Michigan Ave., Unit 1N, Chicago, IL 60653-4356
28083288         +   Keith Palumbo, 1630 N. LaSalle Dr., #1, Chicago, IL 60614-6005
28083289         +   Keli Larson, 35 E. Wacker Dr., Suite 650, Chicago, IL 60601-2119
28083290         +   LH Chicken Holdings, 180 W. Washington St., Chicago, IL 60602-2301
28083291         +   Lady Alchemist LLC, 2000 W. Haddon Ave., Chicago, IL 60622-3648
28083293         +   Leghorn Chicken 2 LLC c/o Paul A. Farahvar, 537 Monroe Ave., Glencoe, IL 60022-2071
28083292         +   Leghorn Chicken 2 LLC c/o Paul A. Farahvar, 537 Monroe Ave., Suite 180, Glencoe, IL 60022-2071
28083294         +   Leghorn Chicken LLC c/o Paul A. Farahvar, 537 Monroe Ave., Suite 180, Glencoe, IL 60022-2071
28083295         +   Linus Entertainment Inc. c/o Paul A. Farahvar, 537 Monroe Ave., Glencoe, IL 60022-2071
28083296         +   Linus Entertainment Inc. c/o Paul Farahvar, 537 Monroe Ave., Glencoe, IL 60022-2071
28083297         +   Little Buddy Enterprises, Aric Burke, 351 W. Hubbard, Ste. 602, Chicago, IL 60654-4486
28083298         +   Lynn (Teri) Lowinger, 950 Hill Road, Winnetka, IL 60093-3921
28083300         +   Mark Rojas, 900 N. Kingsbury #963, Chicago, IL 60610-7446
28083301         +   Mark Sellers, 631 Kent Hills Rd., Grand Rapids, MI 49505-5110
28083302         +   Marvel Capital LLC, 2121 N. Kenmore Ave., Chicago, IL 60614-4111
28083303         +   Matt Laviolette, 340 W. Superior PH4, Chicago, IL 60654-6184
28083305         +   Michael Selman, 2101 Lucerne Cove, Richardson, TX 75080-2299
28231773         +   Mickeys Linen, 4601 W. Addison St., Chicago IL 60641-9911
28083306         +   Mike Rader, 648 N. Armour, Chicago, IL 60642-6108
28083309         +   Nellcote LLC, 537 Monroe, Glencoe, IL 60022-2071
28083308         +   Nellcote LLC, 537 Monroe Ave., Glencoe, IL 60022-2071
28083310        #+   Newcastle Retail Management, 150 N. Michigan Ave., Ste. 3610, Chicago, IL 60601-7569
28083311         +   Nic O'Connor, 240 E. Illinois #302, Chicago, IL 60611-5023
28083312             North Shore University Health Systems, c/o Americollect, PO Box 1505, Skokie, IL 60076
28083314             OpenTable, Inc., 29109 Network Place, Chicago, IL 60673-1291
28083315         +   Paul Farahvar, Ginger Creek Investments, 3735 N. Wilton, #3S, Chicago, IL 60613-5398
28083316         +   Peoples Energy, 200 E Randolph Street, Chicago, IL 60601-6302
28083317         +   Peter McDonald, 3261 Stratford Ct., Unit 3C, Lake Bluff, IL 60044-2919
28083318         +   Peter Niamanis, 10 Birsch Lakes Dr., Hawthorn Woods, IL 60047-7584
28083319             Pinnacle Management Services, 830 Roundabout, Suite B, Rockford, IL 61108
28083320         +   RBS Finance, Attn: Marco Rojas, 900 N. Kingsbury #963, Chicago, IL 60610-7446
28083321         +   Rene King, 3125 N. Clifton Ave., #3, Chicago, IL 60657-3314
28083322         +   Ryan Campaan, 640 W. Barry #403, Chicago, IL 60657-6097
28083323         +   Ryan Schiff, 645 N. Park, Glen Ellyn, IL 60137-4178
28083325             Schultz Supply Co., Inc., c/o Teller, Levit & Silvertrust, P.C., 19 S. LaSalle St., Ste. 701, Chicago, IL 60602
28083326         +   Sean Lavin, 650 West Ave. #2607, Miami Beach, FL 33139-6370
28083327         +   Sharon Smith, 3239 San Jacinto St., Dallas, TX 75204-5526
28083328         +   Small Business Association, 500 W. Madison St., Suite 1150, Chicago, IL 60661-2566
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District/off: 0752-1                                                  User: admin                                                                Page 3 of 5
Date Rcvd: Dec 29, 2020                                               Form ID: 318                                                            Total Noticed: 128
28083329               +   Society Insurance, c/o The Leviton Law Firm, 3 Golf Center, Ste. 361, Hoffman Estates, IL 60169-4910
28083332               +   The Hartford, One Hartford Plaza, Hartford, CT 06155-0001
28083333               +   Thomas (TJ) Callahan, 1654 W. Grace, Chicago, IL 60613-2746
28083334               +   U.S. Foods Corporation, 9399 W. Higgins Rd., Suite 500, Des Plaines, IL 60018-4992
28083336               +   Upserve, 10 Dorrance St., Providence, RI 02903-2018
28083337                   Volvo Car Financial, 1 Volvo Car Drive, Northvale, NJ 07647
28083338              #+   Volvo Car Financial SV, 1 Volvo Drive, Rockleigh, NJ 07647-2507
28083339               +   William Easom, 227 W. Monroe, Ste. 3400, Chicago, IL 60606-5098
28083340              #+   William Psilos, 853 N Leavitt St Apt 2R, Chicago, IL 60622-7115
28231775               +   c/o Howard M. Berrington, Registered Agent, 161 N Clark St- Ste 4200, Chicago IL 60601-3316

TOTAL: 115

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QCLSTEEGE.COM
                                                                                        Dec 30 2020 07:13:00      Catherine L. Steege, ESQ, Jenner & Block, 353 N.
                                                                                                                  Clark Street, Chicago, IL 60654-5474
28083238               + EDI: COMCASTCBLCENT
                                                                                        Dec 30 2020 07:13:00      Comcast-Xfinity, Legal Department, 1701 JFK
                                                                                                                  Boulevard, Philadelphia, PA 19103-2838
28083239               + Email/Text: comedbankruptcygroup@exeloncorp.com
                                                                                        Dec 29 2020 23:22:00      Commonwealth Edison, Aubry L Styx, 3 Lincoln
                                                                                                                  Center, Villa Park, IL 60181-4204
28083240               + Email/Text: comedbankruptcygroup@exeloncorp.com
                                                                                        Dec 29 2020 23:22:00      Commonwealth Edison, c/o Aubrey L. Styx, Esq.,
                                                                                                                  3 Lincoln Center, Villa Park, IL 60181-4204
28083259               + Email/Text: des.claimantbankruptcy@illinois.gov
                                                                                        Dec 29 2020 23:22:00      IL Dept. of Employment Security, Attn: Benefit
                                                                                                                  Payment Control, 33 S. State St., 10th Floor,
                                                                                                                  Chicago, IL 60603-2808
28083267                   Email/Text: rev.bankruptcy@illinois.gov
                                                                                        Dec 29 2020 23:21:00      Illinois Department of Revenue, Attn: Traci
                                                                                                                  Skeeters - 100% Penalty Unit, PO Box 19035,
                                                                                                                  Pittsburg, IL 62794-9035
28083264                   Email/Text: rev.bankruptcy@illinois.gov
                                                                                        Dec 29 2020 23:21:00      Illinois Department of Revenue, Bankruptcy
                                                                                                                  Section, PO Box 64338, Chicago, IL 60664-0338
28083266                   Email/Text: rev.bankruptcy@illinois.gov
                                                                                        Dec 29 2020 23:21:00      Illinois Department of Revenue, Traci Skeeters -
                                                                                                                  100% Penalty Unit, PO Box 19035, Springfield, IL
                                                                                                                  62794-9035
28083270                   EDI: JPMORGANCHASE
                                                                                        Dec 30 2020 07:13:00      JPMorgan Chase, PO Box 15298, Wilmington, DE
                                                                                                                  19850
28083271                   EDI: JPMORGANCHASE
                                                                                        Dec 30 2020 07:13:00      JPMorgan Chase Card, PO Box 15298,
                                                                                                                  Wilmington, DE 19850
28083313                   Email/Text: ebn@americollect.com
                                                                                        Dec 29 2020 23:21:00      North Shore University Health Systems, c/o
                                                                                                                  Americollect, Inc., PO Box 1505, Manitowoc, WI
                                                                                                                  54221-1505
28083324               + Email/Text: bankruptcy@sesac.com
                                                                                        Dec 29 2020 23:23:00      SESAC, c/o Ned Pruitt & Kayla Plott, 35 Music
                                                                                                                  Square East, Nashville, TN 37203-4362
28083335               + EDI: IRS.COM
                                                                                        Dec 30 2020 07:13:00      United States Treasury, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346

TOTAL: 13


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
28083220                       Cassie Pappas, cassie.pappas3@gmail.com
28083223                       Christine McDonald, christine.armbruster@gmail.com
28083255                       Hannah Okonow, hannahokonow@gmail.com
           Case 19-22116              Doc 68         Filed 12/31/20 Entered 12/31/20 23:14:29                                Desc Imaged
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District/off: 0752-1                                               User: admin                                                           Page 4 of 5
Date Rcvd: Dec 29, 2020                                            Form ID: 318                                                       Total Noticed: 128
28083274                         Jacquelyn Kelly, jacquelynmkelly@gmail.com
28083276                         Jennifer Kerr, Jennifer.kerr202@gmail.com
28083304                         Megan Carlson, Megsnmaddie@gmail.com
28083307                         Nate Cradit
28083330                         Sofiya Halani, halani.sofiya@gmail.com
aty                 *+           Catherine L. Steege, ESQ, Jenner & Block, 353 N. Clark Street, Chicago, IL 60654-5474
28083204            *+           419 Superior Street, LLC, 537 Monroe Ave, Glencoe, IL 60022-2071
28083225            *+           City of Chicago, c/o Goldman & Grant Ltd., 205 W. Randolph St., Ste. 1100, Chicago, IL 60606-1813
28083226            *+           City of Chicago, c/o Goldman & Grant, Ltd., 205 W. Randolph St., Ste. 1100, Chicago, IL 60606-1813
28083262            *            Icon Project Roc, LLC, 537 Monroe Ave., Glencoe, IL 60022-2071
28083242            ##+          Craig Esko, 3735 N. Wilton #3S, Chicago, IL 60613-5398
28083286            ##+          Justin Ziemba, 1926 N. Sedgwick St., Chicago, IL 60614-5410
28083287            ##+          Karin & Jeff Bronswick, 14168 Spring Creek Ct., Green Oaks, IL 60048-1594
28083299            ##+          Marc Bushala, 742 W. Buena, #3E, Chicago, IL 60613-0072
28083331            ##+          Susan M. Crothers, 807 Forest Ave., River Forest, IL 60305-1361

TOTAL: 8 Undeliverable, 5 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 31, 2020                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 29, 2020 at the address(es) listed
below:
Name                             Email Address
Carolina Y. Sales
                                 on behalf of Debtor 1 Christopher A. Freeman csales@bmlawllc.com smohan@bmlawllc.com;5241@notices.nextchapterbk.com

Catherine L. Steege, ESQ
                                 csteege@jenner.com csteege@ecf.axosfs.com

Christian Blume
                                 on behalf of Creditor Big Apple Finer Foods Inc. christian@attorneyblume.com

Justin R. Storer
                                 on behalf of Debtor 1 Christopher A. Freeman jstorer@lakelaw.com bharlow@wfactorlaw.com

Kenneth A. Michaels, Jr
                                 on behalf of Debtor 1 Christopher A. Freeman kmichaels@bmlawllc.com
                                 smohan@bmlawllc.com;ecf@lakelaw.com;5552@notices.nextchapterbk.com

M. Gretchen Silver
                                 on behalf of U.S. Trustee Patrick S Layng ustpregion11.es.ecf@usdoj.gov
                                 gretchen.silver@usdoj.gov;denise.delaurent@usdoj.gov

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Paul M Bauch
                                 on behalf of Debtor 1 Christopher A. Freeman pbauch@bmlawllc.com
                                 smohan@bmlawllc.com;5242@notices.nextchapterbk.com

Randall S Borek
                                 on behalf of Creditor Brotschul Potts LLC rborek@brotschulpotts.com
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TOTAL: 9
